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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------x                                                                        12/29/2021
VIRGINIA L. GIUFFRE,

                                     Plaintiff,


                  -against-                                                                             19-cv-3377 (LAP)


ALAN DERSHOWITZ,

                         Defendant.
------------------------------------------x
VIRGINIA L. GIUFFRE,

                                     Plaintiff,


                  -against-                                                                             21-cv-6702 (LAK)



PRINCE ANDREW, Duke of York, in his personal capacity,
also known as Andrew Albert Christian Edward,

                         Defendant.
------------------------------------------x

                                                        ORDER

                    A document entitled as Settlement Agreement and General Release, said to have been executed by
the plaintiff in these actions and by the late Jeffrey Epstein, was filed under seal in No. 19-3377. No. 19-3377, Dkt.
334-1 (the “Document”). The same document has been submitted by the defendant in 21-cv-6702 in support of his
motion to dismiss that case. Dkt. 21-6702, Dkt. 32-1. In light of the sealing order in the first action, it has been filed
under seal in the second.

                   On December 14, 2021, we ordered that, in the absence of a showing, on or before December 22,
2021, of good cause by a party to either of these actions or by a duly authorized executor, administrator, or other
representative of the Estate Mr. Epstein, the Court would file the entire Document on the public record on or about
January 3, 2022. No such showing has been made.

                  Accordingly, the Clerk, on or about January 3, 2022, shall unseal the Document. Specifically, the
Court shall unseal and place on the public record Dkt. 334-1 in No. 19-cv-3377 and Dkt. 32-1 in No. 21-6702.

                  SO ORDERED.

Dated: December 29, 2021


                                                                           /s/         Loretta A. Preska

                                                                                      Loretta A. Preska
                                                                                 United States District Judge



                                                                           /s/         Lewis A. Kaplan

                                                                                       Lewis A. Kaplan
                                                                                 United States District Judge
